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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                   )
                                                   )
              JAMES SOTO,                          )      No. 1:24-cv-10869
                                                   )
                      Plaintiff,                   )
                                                   )      Hon. Martha M. Pacold
                          v.                       )      Magistrate Hon. Laura K. McNally
                                                   )
        WILLIAM FOSTER, et al.,                    )
                                                   )
                    Defendants.                    )      JURY TRIAL DEMANDED
                                                   )

   PLAINTIFF’S OPPOSED MOTION FOR ENTRY OF A PROTECTIVE ORDER

       Plaintiff, JAMES SOTO, through his attorneys, respectfully moves for entry of a

protective order in this case, stating in support as follows:

                                       INTRODUCTION

       Pursuant to Rule 26, Plaintiff James Soto respectfully moves for entry of a protective

order. Plaintiff’s motion addresses important and recurring issues in federal civil rights cases:

who has access to witness information that is critical for both Parties to adequately and fairly

litigate their case. The weight of authority in this District supports equal access to information so

as not to give one party an unfair litigation advantage when it comes to contacting witnesses, and

neither federal nor state law provides a basis for withholding that information for juvenile

witnesses from the Parties in the litigation.

       This Court should enter Exhibit A, Plaintiff’s Proposed Order. This order generally tracks

the District’s Model Order. Exhibit A also includes agreed language by the Parties in paragraph

2, as well certain additions as ordered and entered by the Court in Lugo after contested briefing.

See Ex. A; see also Ex. B, Order, Dkt. 94, Lugo v. Guevara, et al., 23 CV 01738 (N.D. Ill. April


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26, 2024). 1 In contrast, Defendants proposed the protective order entered in Louis Robinson v.

Guevara, et al., 1:24-5954 (N.D. Ill.). Ex. C, Robinson v. Guevara, 1:24-5954 (N.D. Ill. Oct. 29,

2024). 2 While Plaintiff has reduced the number of issues in this litigation by agreeing to the use

of paragraph 2 in the Robinson Protective Order, the other departures from the Model Order in

Robinson present deviations that—for the reasons accepted by the Court in Lugo—should be

rejected.

         Finally, this Court should allow the Parties’ agreed provision that would allow them to

use documents produced in recent, earlier civil cases involving Defendant Guevara and the City.

Ex. A at ¶ 13(d); Ex. C at ¶13(d).

                   BACKGROUND AND LOCAL RULE 37.2 STATEMENT

         The parties are at impasse despite good faith efforts to reach agreement. On May 6, 2025,

the Parties conducted a conference pursuant to Rule 26(f) of the Federal Rules of Civil

Procedure. 2. During that conference, the Parties discussed the Confidentiality Orders that would

be proposed in this case. Plaintiff stated that he would propose a confidentiality order that was

either entered in another Guevara-related case or that the Parties had agreed to in another

Guevara-related case.

         Plaintiff subsequently circulated a proposed Confidentiality Order and proposed HIPAA

and Mental Health Protective Order that were both entered in the Lugo matter. Defendants’

counsel disagreed with certain provisions of the Confidentiality Order entered in Lugo, including


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  Importantly, the Parties briefed the issue of whether Chicago Police Department Complaint Register (“CR”) files
can be designated as confidential, even though CR documents are public under Illinois law, in Lugo. The Court ruled
in favor of Plaintiff’s argument for these files not to be designated confidential. See Ex. B at 1, 3-6. While Plaintiff’s
position remains consistent here – that these documents are public under Illinois law and therefore should not be
designated as confidential – in the interest of reducing the disputed issues here, he has conceded that issue for the
purpose of this Protective Order. In Robinson, the Parties agreed to the language included in paragraph 2 of
Plaintiff’s Proposed Order.
2
  This Exhibit is a “compare” version of the Robinson Order and the District’s Model Protective Order, with the
changes therein highlighted.

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the issue of CRs being designated as confidential, and information subject to redactions.

Defendants alternatively proposed the Confidentiality Order entered in the Robinson matter. The

Parties conferred via videoconference about the proposed Confidentiality Order on May 19,

2025, and arrived at impasse on the issues included in this briefing. Before submitting this filing,

Plaintiff has reduced the issues even further by agreeing to designate CR files as confidential.

Defendants requested two weeks for their response.

                                    LEGAL STANDARD

       Neither party disputes that witness contact information is properly considered

confidential and should be used only for use within this case. At issue is whether the City has the

right to redact witness information from documents prior to their production to counsel. Fed. R.

Civ. P. 26(c)(1). This Court’s review is governed by Rule 26(c)(1), which provides that a court

“may, for good cause, issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.” Rule 26 empowers this Court to

fashion a protective order in the first place, and its good cause standard governs. Id.; see

generally 8A Wright, et al., Fed. Prac. & Proc. §§ 2035, 2036 & 2043 (3d ed. Apr. 2019 update).

       A party seeking to modify this Court’s Model Order bears the burden of showing good

cause for their proposed protective order under Rule 26. Central States, Se. v. Nat’l Lumber Co.,

2012 WL 2863478, at *2 (N.D. Ill. July 11, 2012) (citing Jepson, Inc. v. Makita Elec. Works, 30

F.3d 854, 858 (7th Cir. 1994). This Court must balance the harm to the party seeking protection

against the importance of public disclosure. In re Northshore Univ. Healthsystem, 254 F.R.D.

338, 341-42 (N.D. Ill. 2008). In sum, the presumption is that documents exchanged in discovery

can be disseminated by the parties unless good cause for a protective order.




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                                        DISCUSSION

I.      This Court should reject any deviations from the Model Order unsupported
        by good cause.

        The Parties have agreed to certain additions to paragraph 2 of Plaintiff’s Proposed

Order for which there is good cause to enter, in light of that agreement to the terms.

However, Defendants’ proposed Order presents other problematic deviations from the Model

Order that must be rejected because they create unnecessary ambiguity, could lead to over-

designation of documents as confidential, provide an unfair advantage to defense counsel,

and are unsupported by the law.

        First, Defendants’ proposed modifications to Paragraph 3 is not warranted. Mirroring

the Model Order, Plaintiff’s Proposed Order requires that a confidential stamp be made

“prior to or at the time of the documents being produced or disclosed.” Ex. A ¶3(a). In

contrast, Defendants seek to apply this stamp “prior to or as soon as practicable after the

documents are produced or disclosed.” See Ex. C ¶3(a) (emphasis added). Such open-ended

language leaves parties waiting indefinitely to be advised whether a confidential designation

will be made, and paragraph 6 of the Model Order—incorporated as Paragraph 7 in Exhibit

A—already sufficiently protects a later confidentiality determination through its clawback

procedure. See Ex. A ¶ 7. As the Court found in Lugo, the Model Order is sufficient. See Ex.

B at 7 (“[T]he indefinite language ‘as soon as practicable’ could lead to confusion and

uncertainty as to whether documents will be designated confidential. The District’s Model

Order is sufficient.”).

        Likewise, Defendants’ Paragraph 4 seeks further unwarranted and unnecessary

modifications. Defendants’ proposal would not only permit parties to state on the record that

portions of a deposition be treated confidential without a subsequent Notice of Designation


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identifying such portions, but would also permit a party to designate additional portions

confidential, even had they not be identified so during the deposition. See Ex. C ¶4. As the

court found in Lugo, this change lacks good cause because “[i]t is incumbent on the parties to

adequately prepare for depositions and be prepared to identify all portions that will be

deemed confidential at the time the deposition is taken, in order to ensure the deposition

record is clear as to what portions are considered confidential. Allowing parties the ability to

designate additional testimony after the fact creates uncertainty and could . . . lead to the

over-designation of deposition testimony as confidential.” Ex. B at 8 (emphasis added).

Practically speaking, when parties might not order the transcript until months after the

deposition was conducted, the model order’s requirement that the designating party alert all

parties in writing that confidential matter appears in the transcript makes sense. It prevents a

party from inadvertently disclosing a transcript with confidential matter. Plaintiff has no

objection to extending the time for parties to designate such testimony as confidential to 28

days.

        Third, Defendants’ proposed paragraph 6 affords the defense an unfair litigation

advantage. Plaintiff does not object to treating personal identifying information as confidential,

as the Model Order permits. Ex. A at ¶ 2. However, in Defendants’ proposed paragraph 6 (Ex. C

at ¶6), Defendants seek to redact information entirely, prior to production to the plaintiff, thereby

restricting Plaintiff’s equal access to information. This redaction affords Defendants an unfair

advantage, retaining for Defendants unilateral access to identifying information about witnesses

and placing Plaintiff at a disadvantage in locating the witnesses. No good cause exists for

Defendants to have such broad redacting authority.

        Plaintiff has no objection to the extent redactions are necessary to protect officers, as is



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noted in Plaintiff’s Proposed Order here and by the Court in Lugo. Ex. A ¶ 6; Ex. B at 1. However,

Defendants’ paragraph 6 seeks the authority to redact much more, including “information

covered by the Juvenile Court Act.” Ex. C ¶ 6. This practice wreaks havoc in wrongful

conviction cases, resulting in the City redacting key witness information in numerous documents,

merely because the witness was—long ago—a juvenile. That is so particularly in this case, where

many of the witnesses detained, subjected to charges, or accused of crimes were juveniles at the

time. Now, over forty years later, there is no basis for redaction. The Juvenile Court Act does not

create a basis in the first place to redact information, as state statutes typically do not provide a

basis to withhold information in federal litigation. Moreover, the Juvenile Court Act expressly

exempts juvenile witnesses from its reach. See 705 ILCS 405/1-3 (“‘Juvenile law enforcement

record’ includes records of arrest, station adjustments, . . . or any other records or documents

maintained by any law enforcement agency relating to a minor suspected of committing an

offense, and records maintained by a law enforcement agency that identifies a juvenile as a

suspect in committing an offense, but does not include records identifying a juvenile as a victim,

witness, or missing juvenile” (emphasis added). There is no good cause to include Juvenile Court

Act language in paragraph 6. See, e.g., Ex. B at 9 (Lugo court finding no good cause for the

Juvenile Court Act language in paragraph 6 because “the designation of information protected

under the Juvenile Court Act as confidential is sufficient, as that will protect it from public

disclosure, as the state law intends, but will still allow Lugo to investigate and prosecute the case

by identifying potential witnesses.”).

II.      This Court should allow designation of confidential documents from prior cases.

         The Parties agree on a provision that enables them to produce documents in this case that

have been produced as confidential in recent civil cases against Defendant Guevara and the



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City. 3 Ex. C, at ¶ 13(d); Ex. A, at ¶13(d). The parties have jointly requested entry of this same

provision other recent Guevara wrongful conviction cases. E.g., Ex. D, Gonzalez Defendants’

Proposed Order, at ¶12(d); Ex. E, Lugo Plaintiff’s Proposed Order. This agreed provision would

allow the parties to avoid duplicative productions and reduce unnecessary litigation costs; thus,

good cause exists for its entry.

                                         CONCLUSION

        For the foregoing reasons, this Court should enter Exhibit A—Plaintiff’s Proposed

Order, which largely mirrors the Model Order.


DATED: May 27, 2025

                                                                 RESPECTFULLY SUBMITTED,

                                                                 By: James Soto

                                                                 /s/ Meg Gould
                                                                 One of Plaintiff’s Attorneys

                                                                 Jon Loevy

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  The agreed stipulation allows production of documents that have been produced as
confidential in: J. Johnson v. Guevara, No. 05-cv-1042 (N.D. Ill.); J. Rivera v. Guevara, No.
12-cv-4428 (N.D. Ill.); Serrano v. Guevara, No. 17-cv-2869 (N.D. Ill.); Montanez v. Guevara,
No. 17-cv-4560 (N.D. Ill.); Gomez v. Guevara, No. 18-cv-3335 (N.D. Ill.); DeLeon-Reyes v.
Guevara, No. 18-cv-1028 (N.D. Ill.); Solache v. Guevara, No. 18-cv-2312 (N.D. Ill.);
Maysonet v. Guevara, No. 18-cv-2342 (N.D. Ill.); Sierra v. Guevara, No. 18-cv-3029 (N.D.
Ill.); R. Rodriguez v. Guevara, No. 18-cv-7951 (N.D. Ill.); Iglesias v. Guevara, No. 19-cv-
6508 (N.D. Ill.); D. Johnson v. Guevara, No. 20-cv-4156 (N.D. Ill.); Rodriguez v. Guevara, No. 22-
cv-6141 (N.D. Ill.); Gonzalez v. Guevara, No. 22-cv-6496 (N.D. Ill.); Flores v. Guevara, No. 23-cv-1736
(N.D. Ill.); Hernandez, et al. v. Guevara, No. 23-cv-1737 (N.D. Ill.); Lugo v. Guevara, No. 23-cv-1738
(N.D. Ill.); Davila v. Guevara, No. 23-cv-1739; Abrego v. Guevara, No. 23-cv-1740; Martinez v.
Guevara, No. 23-cv-1741 (N.D. Ill.); Gecht v. Guevara, No. 23-cv-1742 (N.D. Ill.); G. Rivera v.
Guevara, No. 23-cv-1743 (N.D. Ill.); Kwil v. Guevara, No. 23-cv-4279 (N.D. Ill.); Cain v.
Guevara, No. 23-cv-14282 (N.D. Ill.); R. Hernandez v. Guevara, No. 23-cv-15375 (N.D. Ill.);
Tinajero v. Guevara, No. 24-cv-1598 (N.D. Ill.); Kelly v. Guevara, No. 24-cv-5458 (N.D. Ill.);
Robinson v. Guevara, No. 24-cv-5954 (N.D. Ill.); J. Soto v. Foster, No. 24-cv-10869 (N.D.
Ill.); Ortiz v. Guevara, No. 24-cv-11057 (N.D. Ill.); and O. Soto v. Guevara, No. 24-cv-12554
(N.D. Ill.).
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                LOCAL RULE 37.2 CERTIFICATE OF COMPLIANCE

        I, Meg Gould, an attorney, hereby certify that Plaintiff, in compliance with Local Rule
37.2, has engaged in good faith efforts to resolve the issue prior to filing this Motion.
        On May 6, 2025, the Parties conducted a conference pursuant to Rule 26(f) of the Federal
Rules of Civil Procedure and discussed the Confidentiality Orders that would be proposed in this
case. Plaintiff stated that he would propose a confidentiality order that was either entered in
another Guevara-related case or that the Parties had agreed to in another Guevara-related case.
Plaintiff subsequently circulated a proposed Confidentiality Order and proposed HIPAA and
Mental Health Protective Order that were both entered in the Lugo matter. Defendants’ counsel
disagreed with certain provisions of the Confidentiality Order entered in Lugo, including the
issue of CRs being designated as confidential, and information subject to redactions. Defendants
alternatively proposed the Confidentiality Order entered in the Robinson matter. The Parties
conferred via videoconference about the proposed Confidentiality Order on May 19, 2025, and
arrived at impasse on the issues included in this briefing. Before submitting this filing, Plaintiff
has reduced the issues even further by agreeing to designate CR files as confidential. Defendants
requested two weeks for their response.

                                                             Respectfully Submitted,

                                                             /s/ Meg Gould
                                                             One of Plaintiff’s Attorneys

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